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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA
NEW ORLEANS DIVISION

IN RE: FEMA TRAILER
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION

MDL NO. 1873

SECTION: N(4)

THIS RELATES TO: MAG: ROBY

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)
)
)
)
) JUDGE: ENGELHARDT
)
)
Plaintiff: Anderson, Jr., Harold )
)
)

PLAINTIFF FACT SHEET

I. INSTRUCTIONS

IT IS VERY IMPORTANT FOR YOU TO COMPLETE THIS FORM IN ITS ENTIRETY
IN ORDER TO PROTECT YOUR CLAIM. THIS FORM MUST BE COMPLETED AND
RECEIVED BY OCT. 31, 2008 OR YOU WILL NOT BE ABLE TO PARTICIPATE IN
THIS LITIGATION. ONCE COMPLETED, PLEASE IMMEDIATELY RETURN THIS
FORM TO YOUR ATTORNEY.

Please provide the following information for each person claiming a formaldehyde related
injury as a result of living in a travel trailer or mobile home provided by FEMA after Hurricanes
Katrina and Rita in August and September, 2005. A separate Plaintiff Fact Sheet must be
completed for each individual claiming exposure to formaldehyde. For example, a parent
must complete a separate form for each minor child and a personal representative must
complete a separate form for each deceased person. Whether you are completing this fact
sheet for yourself or for someone else, please assume that “You” means the person who resided
in or lived in the housing units.

If additional space is needed for any response, please attach additional sheets. If the
person completing this Fact Sheet does not know or does not recall the information requested in
any question, that response should be entered in the appropriate location.

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I.

IIl.

Anderson, Jr., Harold - WGC#245928

PERSONAL INFORMATION
A. Name (person completing form): Harold Anderson Jr.
B. Maiden or other names used or by which you have been known:
1881 Esther Drive Apt 4
C. Current Street Address: Lake Charles, LA 70611
D. Home Telephone No.:
Cell Phone No.:_337-488-3347
Work Telephone No:
Other Telephone Nos.:
E. Email address:
CASE INFORMATION
A. If you are completing this questionnaire in a representative capacity (for

example, on behalf of the estate of a deceased person or on behalf of a minor),
please complete the following information on such person:

1. State which individual or estate you are representing:

2. Maiden Or Other Names Used or By Which Such Person Has Been
Known:

3 Address (or last known address if deceased):

4, Home Telephone No.:
Cell Phone No.:
Work Telephone No:
Other Telephone Nos.:

5. E-mail address:

6. If you were appointed as a representative by a court, state the:

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Court:
Date of Appointment:

7. What is your relationship to the deceased or represented person or person
claimed to be injured?

8. If you represent a decedent’s estate, state the date of death of the decedent
and the place where the decedent died:

B. Please state the name and address of the attorney representing you:

Watts Hilliard, LLC

Attommey’s Name/Law Firm
2506 N. Port Ave, Corpus Christi, TX 78401

City, State and Zip Code

C. Please state the following: (If you are a representative, please state this
information for each such person being represented):

1. Are you claiming that you have developed, or may have developed, a
disease or illness as a result of being exposed to formaldehyde while
residing in a FEMA-provided trailer or mobile home?

Yes & No UO

2. What is your understanding of the illness or disease you claim you have
developed, or may in the future develop, from living in a FEMA trailer or
mobile home?_I do not know but understand that my claim is about formaldehyde
being in the trailer and that may cause illness or disease.
3. During the time that you lived in your FEMA trailer, did you experience or
report to a physician any of the following symptoms? If yes, place a check
mark (“) by the symptom that you experienced.

Eye Irritation / Excessive Tears
Burning of Eyes

Irritation to Nasal Membranes

Buming of Nasal Membranes

Bleeding of Nasal Membranes

Skin Rash / Irritation

Irritation or Swelling of Eyelids or Eye Area
Tingling or Swelling of Lips or Face Area
Headaches

Nausea

Vomiting

Abdominal Pain

Diarrhea

Difficulty in Breathing

Emphysema / Wheezing

Coughing / Shortness of Breath

Tightness of the Chest

Throat Irritation

Hoarseness

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If you have experienced any of the above illnesses, diseases or conditions, fill in the following information for
each. Please attach additional paper if you do not have enough room in the space provided.

Condition: Eye Irritation / Excessive Tears
Diagnosing Physician:
Address of Physician:

Suffered Prior To Trailer?
Condition Worsened By Trailer?

Condition: Burning of Eyes
Diagnosing Physician:
Address of Physician:

Suffered Prior To Trailer?
Condition Worsened By Trailer?

Condition: Eye Irritation / Excessive Tears

Diagnosing Physician:
Address of Physician:

Suffered Prior To Trailer?
Condition Worsened By Trailer?

Condition; Irritation to Nasal Membranes

Diagnosing Physician:
Address of Physician:

Suffered Prior To Trailer?
Condition Worsened By Trailer?

Condition: Burning of Nasal Membranes
Diagnosing Physician:
Address of Physician:

Suffered Prior To Trailer?
Condition Worsened By Trailer?

Condition, Bleeding of Nasal Membranes
Diagnosing Physician:

Suffered Prior To Trailer?
Condition Worsened By Trailer?

Address of Physician:
Condition; Skin Rash / Irritation Suffered Prior To Trailer?
Diagnosing Physician: Condition Worsened By Trailer?
Address of Physician:

Condition; Irritation or Swelling of Eyelids or Eye Area
Diagnosing Physician:
Address of Physician:

Suffered Prior To Trailer?
Condition Worsened By Trailer?

Condition, Tingling or Swelling of Lips or Face Area
Diagnosing Physician:

Address of Physician:

Suffered Prior To Trailer?
Condition Worsened By Trailer?

Condition: Headaches
Diagnosing Physician:
Address of Physician:

Suffered Prior To Trailer?
Condition Worsened By Trailer?

Condition: Nausea
Diagnosing Physician:
Address of Physician:

Suffered Prior To Trailer?
Condition Worsened By Trailer?

Condition; Vomiting
Diagnosing Physician:
Address of Physician:

Suffered Prior To Trailer?
Condition Worsened By Trailer?

Condition; Abdominal Pain
Diagnosing Physician:
Address of Physician:

Suffered Prior To Trailer?
Condition Worsened By Trailer?

Condition: Diarrhea

Diagnosing Physician:
Address of Physician:

Suffered Prior To Trailer?
Condition Worsened By Trailer?

Condition: Difficulty in Breathing
Diagnosing Physician:
Address of Physician:

Suffered Prior To Trailer?
Condition Worsened By Trailer?

Condition; Emphysema / Wheezing
Diagnosing Physician:
Address of Physician:

Suffered Prior To Trailer?
Condition Worsened By Trailer?

no} oo} ooF}dvOO}d Oo d vO6d}d ODJd OD) Og} OD) OD) OD] OD) OD) OD] OO

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ae

4. Since you moved into the FEMA trailer and up to the present date, have you
been diagnosed with Cancer? _No

If yes, which kind of cancer?

5. When do you claim this injury or disease first occurred? I know now injury
occurred on the date I moved in, but I did not know that at the time.

6. Did you ever suffer this type of illness or disease prior to living in the FEMA
trailer? Please see table above

7. Do you claim that your use of a FEMA trailer or mobile home worsened a
condition that you already had or had in the past? Please see table above

If “Yes”, set forth the illness, disease or condition; whether or not you had
already recovered from that illness, disease or condition before you began
residing in a FEMA trailer or mobile home and the date of your recovery, if
any.

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8. Are you claiming mental and/or emotional damages as a result of
residing in a FEMA trailer or mobile home?
Yes No

If “Yes,” for each provider (including but not limited to primary care
physician, psychiatrist, psychologist, counselor, pastor or religious
counselor) from whom you have sought treatment for any psychological,
psychiatric or emotional problems during the last seven (7) years, state:

Name and address of each person who treated or counseled you:

To your understanding, describe the condition for which treated:

State when you were treated for this psychological, psychiatric or
emotional problem

List the medications prescribed or recommended by the physician or
counselor

9. Are you making a claim for medical expenses as a result of the injury,
illness or disease identified in C.2. above?
Yes No &

If “Yes,” state the amount of your claim:

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IV. BACKGROUND INFORMATION

A. Identify each address at which you have resided during the last five (5) years, and
list when you started and stopped living at each one:

Address Dates of Residence

1881 Esther Drive Apt 4
Lake Charles, LA 70611

B. State Driver’s License Number and State Issuing License:
C. Date and Place of Birth;
D. Sex: Male & Female 0]

E. Identify the highest level of education (high school, college, university or other
educational institution) you have attended (even if not completed), the dates of
attendance, courses of study pursued, and diplomas or degrees awarded:

Institution Dates Attended Course of Study _ Diplomas or Degrees
12th
F, Employment Information
1. Current employer (if not currently employed, state your last employer):
Employer Name Dates Job Title Job Duties
Teminx
Address

2. List the following for each employer you have had in the last ten (10)
years:
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Employer Name
Teminx

Address

Dates

Job Title

Job Duties

Employer Name

Teminx

Address

Dates

Job Title

Job Duties

Employer Name

Address

Dates

Job Title

Job Duties

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Are you making a wage loss claim, or claim of lost earning capacity as a
result of your exposure to formaldehyde while residing in a FEMA trailer
or mobile home?

YesQO No &

If “Yes,” state the following:
a. If you are making a claim for lost earnings and/or lost earning
capacity, state your income from employment for each of the last

five (5) years:

Year Income

PAPA ASF

b. Total amount of time which you have lost from work as a result of
any and all condition(s) related to residing in a FEMA trailer or
mobile home, and the amount of income that you lost:

G. Previous Claims Information

1.

Have you ever filed a lawsuit or made a claim, other than in the present
suit, relating to any sickness or disease, excluding auto accidents?
YesO No ® Don’trecall 9

If “Yes,” state to the best of your knowledge the court in which such
action was filed, case name and/or names of adverse parties, and nature of
the sickness or disease.

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IV. FAMILY INFORMATION

A. To the best of your knowledge has any child, parent, sibling, or grandparent of
yours suffered from any type of disease [such as asthma, shortness of breath,
headaches, lung disease, liver disease, skin disease, neurological disease,

allergies, or cancer].
Yes No & Don’t Know [J

If “Yes,” provide the information below.
Name Relationship Current Age _ Medical Condition Cause of Death

B. Are you are claiming the wrongful death of a family member related to
formaldehyde?
Yes O No &

If “Yes,” state the name of the deceased and fill out a separate form for the
deceased.
Name:

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V. FEMA TRAILER OR MOBILE HOME UNIT

GOVERNMENT PROVIDED INFORMATION

Defendants Named: Plaintiff Unmatched to Specific Manufacturing Defendant

A. Fill in the following information with respect to EACH FEMA trailer or mobile
home that you have resided in. Attach additional sheets if necessary.

Questions 1 and 2 are answered on the next page.

3. Please provide your FEMA Identification No.: 921411030

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- TRAILER 1 (Section A. 1-2, 4-20, B, C, D)

Manufacturer: Gulf Stream
. VIN:
Bar Code Number:

Was the temporary housing unit provided to you by FEMA a travel trailer or a mobile home? Yes
Move-in Date: 08/01/2006

Move-out Date: 09/01/2007

Please state the mailing address and physical location for the trailer or mobile home unit:
Address: 739 Cascio Road

City: Lake Charles State: LA Zip: 70601

Was the FEMA trailer or mobile home located in a trailer park or on private property? Privat
State the reason you stopped living in the FEMA trailer or mobile home:

Please state the approximate square footage of the FEMA housing unit:
Please state the approximate length and width of the FEMA housing unit:

What is/was the average number of hours spent in the FEMA trailer or mobile home each day? 16 hrs.

Is/was the FEMA housing unit “jacked-up” on blocks (wheels off of the ground)? Yes
Is/was the FEMA housing unit hooked up to a sewer line? Yes__

Is/was the FEMA housing unit hooked up to an electrical line? Yes

Is/was the FEMA housing unit hooked up to a natural gas line? Yes
Is/was propane gas used in the FEMA housing unit? Yes
How many days per week did you work outside of the home during the time you lived in the FEMA trailer or

mobile home?

Did you ever temporarily live in another location during the time you resided in the FEMA trailer or mobile home?

If “Yes,” where did- you temporarily live?

For what period of time did you temporarily live in another location?

Have any air quality tests ever been performed on your FEMA trailer or mobile home? No

If “Yes,” please state when the test was performed and who prepared this testing:

Was your FEMA trailer or mobile home ever fumigated for insects or any other reason? No

If “Yes,” please state the date and reason for fumigation:

Were any repairs, service, or maintenance performed on your FEMA trailer or mobile home? No

If “Yes,” please state the date and reason for repair, service or maintenance:

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E. Please state in the chart provided below the name and present address and
telephone number of every person who resided in your FEMA trailer or mobile
home, the period of time such person resided in the FEMA trailer or mobile home
(however brief), and whether such person is making a claim for personal injury as
a result of residing in the FEMA trailer or mobile home.

Trailer | Name Current | Current Address | Dates livedin | Making | If “Yes,” what is the
Age and Telephone the FEMA personal | nature of the
number trailer or injury personal injury?
mobile home | claim?
Harold 24 1881 Esther Dr. 08/01/2006 - Yes
Lake Charles , LA 09/01/2007
70611
VI. MEDICAL BACKGROUND

A. Height: 5’8”

B. Current Weight: 185
Weight prior to living in a FEMA trailer or mobile home:

C. Personal Smoking/Tobacco Use History: Check only the answer and that

applies to you and fill in the blanks applicable to your history of smoking
and/or tobacco use.

XK) Never smoked  cigarettes/cigars/pipe tobacco or used chewing
tobacco/snuff.

C] Past smoker of cigarettes/cigars/pipe tobacco or used chewing
tobacco/snuff.
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1. Date on which smoking/tobacco use ended:
2. Amount smoked or used on average:
per day for years.

-] Current smoker of cigarettes/cigars/pipe tobacco or user of chewing
tobacco/snuff.

1. Amount currently smoked or used on average:
per day for years.

D. Other Smoking/Tobacco Use History:
If someone who resides or resided with you in your FEMA housing unit is

or was a smoker of cigarettes/cigars/pipe tobacco or user of chewing
tobacco/snuff, please state the following concerning their smoking history:

1. Amount smoked or used on average, if you know:
per day for years.
2. Relationship to you:
3. Please state whether the smoking occurred inside, outside or
both.
E. Were you pregnant during the time in which you resided in a FEMA trailer or

mobile home?
Yes O No &

If “Yes,” what was the date of birth:

Did your pregnancy terminate in a miscarriage or a stillborn child?

Yes No
F. Have you ever suffered from any of the following illnesses, diseases or abnormal

physical conditions?

1. Lung or other respiratory disease
Yes O No &

If “Yes,” please indicate the following:

Name and description of each illness, disease, or abnormal condition:

The date of illness:

2. Infectious disease (such as, tuberculosis, pneumonia, hepatitis)
Yes 0 No &
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If “Yes,” please indicate the following.

Name and description of each illness, disease, or abnormal condition:

The date of illness:

3. Long-term stomach or bowel disease
Yes 0 No &

If “Yes,” please indicate the following.

Name and description of each illness, disease, or abnormal condition:

The date of illness:

4, Skin disease
Yes 0 No &

If “Yes,” please indicate the following.

Name and description of each illness, disease, or abnormal condition:

The date of illness:

G. Please indicate to the best of your knowledge whether you have ever received any
of the following treatments or diagnostic procedures:

1. To your knowledge, have you ever had any of the following tests
performed: chest X-ray, CT scan, MRI.

Yes No & Don’t Recall J

If “Yes,” answer the following:

Diagnostic Test When Treating Physician Hospital Reason

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VII.

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MEDICAL DIAGNOSIS

A. Please identify the doctor or health care provider(s) who treated you for each
disease, illness or injury that you claim you (or the person you represent) suffered
as a result of living in a FEMA trailer or mobile home and the date of the
diagnosis.

B. Doctor’s Name:
Specialty, if any:
Address:
Phone:
Treatment received:
Dates of treatment:
Please refer to Section UI. Part C Question 3

C. If you are alleging psychological symptoms or emotional problems as a result of
living in a FEMA trailer or mobile home, please identify any physician that you
have received psychological care and provide a medical records authorization.

D. Has any health care professional told you that your alleged illness, disease, or

injury is related to living in a FEMA trailer or mobile home?
YesO No &

If “Yes,” please provide the name and address of the health care professional.

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VII. DOCUMENTS

Please indicate if any of the following documents and things are currently in your
possession, custody, or control, or in the possession, custody, or control of your lawyers by
checking “Yes” or “No.” Where you have indicated “Yes,” please attach a copy of the
documents and things to your responses to this Plaintiff Fact Sheet.

A. Records of physicians, hospitals, pharmacies, and other healthcare providers
identified in response to this Plaintiff Fact Sheet.
Yes O No Xl

B. Standard Form 95 submitted to any federal agency regarding any claim related to
a FEMA trailer or mobile home, including any and all attachments.
Yes KX] No [7]

C. Any test results from any testing done on your FEMA trailer or mobile home.
Yes O No KX]

D. All bills from any physician, hospital, pharmacy, or other healthcare provider, if
you incurred related medical expenses.
Yes O No &]

E. Any questionnaires that you have filled out to assist any individual or entity with
any testing done on your FEMA trailer or mobile home.
Yes O No Xl

F. Decedent’s death certificate, if applicable.
Yes O No &

G. Report of autopsy of decedent, if applicable.
Yes No Xl

IX. LIST OF MEDICAL PROVIDERS AND OTHER SOURCES OF
INFORMATION

For each medical provider and pharmacy identified in Sections A through F below, please
fill out and sign and date an attached authorization. You must also sign and date five (5) blank
medical authorizations and attach them to this Form.

You must also sign and date authorizations permitting social security disability and
workers’ compensation records to be requested, to the extent applicable.
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A. Identify your current family and/or primary care physician:
Do Not Recall 1] N/A 1

B. Identify your primary care physicians for the last seven (7) years.
Do Not Recall 1] N/A LJ
Name Dates
Address City ST Zip
C. Each hospital, clinic, or healthcare facility where you have received outpatient

treatment or been admitted as a patient during the last seven (7) years.

Do Not Recall ] N/A (J
Name Admission Dates
Address City ST Zip
Reason For Admission

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D. Each hospital, clinic, or healthcare facility where you have received outpatient
treatment (including treatment in an emergency room) during the last seven (7)
years.
Do Not Recall 1] N/A OJ
Name Admission Dates
Address City ST Zip

Reason For Admission

E. Each physician or healthcare provider from whom you have received treatment
during the last seven (7) years.

Do Not Recall N/A
Please see Section III C.3 and Section IX A,B, C and D

Name Dates
Address City ST Zip

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F, Each pharmacy that has dispensed medication to during the last seven (7) years.
Do Not Recall O N/A OJ

Name Walgreens

Address City Lake Charles ST Zip
Name Wal-Mart

Address City Lake Charles ST Zip
Name

Address City ST Zip

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CERTIFICATION

I declare under penalty of perjury subject to 28 U.S.C. §1746 that all of the information
provided in this Plaintiff Fact Sheet is tme and correct to the best of my knowledge, and that |
have supplied all the documents requested in Part VIII of this Plaintiff Fact Sheet, to the extent
that such documents are in my possession, custody, or control, or in the possession, custody, or
control of my lawyers, and that ] have signed the authorizations attached to this declaration.

Z Voi Oud |

ignature of Plaintiff

Wacctd MaderionS 4-17-04

int YourName — Date

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PRIVACY ACT RELEASE LANGUAGE

I, iI 5 { [insert name] understand that information
maintained by the Federal Emergency Management Agency (FEMA) and contained in
files related to disaster assistance provided to me by FEMA is subject to the Privacy
Act of 1974, 5 U.S.C. 552a. I hereby authorize FEMA to release to my attorney
Watts Hilliard, LLC , Plaintiffs’ Liaison Counsel Justin Woods and
Gerald E. Meunier, and Defense Liaison Counsel Andrew D. Weinstock, information
contained in FEMA’s Privacy Act files related to the travel trailer or mobile home unit
provided to me by FEMA.

Dated:

Name: 1). 0) .

Signature IC ds Oat \

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: FEMA TRAILER FORMALDEHYDE | MDL No. 1873
PRODUCT LIABILITY LITIGATION

AUTHORIZATION FOR RELEASE OF
MEDICAL RECORDS PURSUANT TO 45
CBR. § 164.508 (HIPAA)

rome ACY rceison

Date of Birth:

Last Four Numbers of SSN:

T hereby authorize (the
“Provider”) to release all existing records regarding the above-named person’s medical care,
treatment, physical condition, and/or medical expenses to the law firm of Duplass, Zwain,
Bourgeois, Morton, Pfister & Weinstock, 3838 N. Causeway Boulevard, Suite 2900,
Metairie, LA 70002, and/or to the law firm of

and/or their designated agents. These records shall be used or disclosed solely
i connection with the currently pending FEMA Formaldehyde product liability litigation
involving the person named above. This authorization shall cease to be effective as of the date
on which the above-named person’s FEMA Formaldehyde product liability litigation concludes.

This authorization also may include x-ray reports, CT scan reports, MRI scans, EEGs,
EKGs, sonograms, arteriograms, discharge summaries, photographs, surgery consent forms,
admission and discharge records, operation records, doctor and nurses notes (excluding
psychotherapy notes maintained separately from the individual's medical record that document or
analyze the contents of conversation during a private counseling session or a group, joint, or
family counseling session by referring to something other than medication prescription and
monitoring, counseling session start and stop times, the modalities and frequencies of treatment
furnished, results of clinical tests, and any summary of the following items: diagnosis, functional
status, the treatment plan, symptoms, prognosis and progress), prescriptions, medical bills,
invoices, histories, diagnoses, narratives, and any correspondence/memoranda and billing
information. It also includes, to the extent such records currently exist and are in your
Possession, msurance records, including Medicare/Medicaid and other public assistance claims,
applications, statements, eligibility material, claims or claim disputes, resolutions and payments,
medical records provided as evidence of services provided, and any other documents or things
pertaining to services furnished under Title XVII of the Social Security Act or other forms of
public assistance (federal, state, local, etc.). This listing 1s not meant to be exclusive.

. This will further authorize you to provide updated medical records, x-rays, reports or
copies thereof to the above attorney until the conclusion of the litigation. I understand that I
have-the right to revoke in writing my consent to this disclosure at any time, except to the extent
that the above-named facility or provider already has taken action in reliance upon this

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authorization, or if this authorization was obtained as a condition of obtaining insurance
coverage. I further understand that the above-named facility or provider cannot condition the
provision of treatment, payment, enrollment in a health plan or eligibility for benefits on my
provision of this authorization. I further understand that information disclosed pursuant to this
authorization may be subject to redisclosure by the recipient to its clients, agents, employees,
consultants, experts, the court, and others deemed necessary by the recipient to assist in this
litigation and may no longer be protected by HIPAA.

Any copy of this document shall have the same authority as the original, and may be
substituted in its place.

Dated this__ day of __ , 2008.

if a representative, please describe your relationship to the plaintiff and your authority to act on
his/her behalf:

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: FEMA TRAILER FORMALDEHYDE | MDL No. 1873
PRODUCT LIABILITY LITIGATION
AUTHORIZATION FOR RELEASE OF
PSYCHOLOGICAL/PSYCHIATRIC
RECORDS PURSUANT TO 45 C.F.R.

§ 164.508 (HIPAA) (TO BE SIGNED BY
PLAINTIFFS MAKING A CLAIM FOR
EMOTIONAL DISTRESS)

Name: . V
Date of Birth:
Last Four Numbers of SSN

Thereby authorize to release
all existing records regarding the above-named person’s psychological or psychiatric care,
treatment, condition, and/or expenses to the Jaw firm of Duplass, Zwain, Bourgeois, Morton,
Pfister & Weinstock, 3838 N. Causeway Boulevard, Suite 2900, Metairie, LA 70002, along
with other defense counsel in the above-captioned matter, the law firm of
and/or any of their designated agents. These
records shal! be used or disclosed solely in connection with the currently pending FEMA
Formaldehyde product liability litigation involving the person named above. This authorization
shall cease to be effective as of the date on which the above-named person’s FEMA
Formaldehyde product liability litigation concludes.

This authorization also may include x-ray reports, CT scan reports, MRI scans, EEGs,
EKGs, sonograms, arteriograms, discharge summaries, photographs, surgery consent forms,
admission and discharge records, operation records, doctor and nurses notes (excluding
psychotherapy notes maintained separately from the individual's medical record that document or
analyze the contents of conversation during a private counseling session or a group, joint, or
family counseling session by referring to something other than medication prescription and
monitoring, counseling session start and stop times, the modalities and frequencies of treatment
furnished, results of clinical tests, and any summary of the following items: diagnosis, functional
status, the treatment plan, symptoms, prognosis and progress), prescriptions, medical bills,
invoices, histories, diagnoses, psychiatric treatment and counseling records, psychological
treatment and counseling records, narratives, and any correspondence/memoranda and billing
information. It also includes, to the extent such records cwrently exist and are in your
possession, insurance records, including Medicare/Medicaid and other public assistance claims,
applications, statements, eligibility material, claims or claim disputes, resolutions and payments,
medical records provided as evidence of services provided, and any other documents or things
pertaining to services furnished under Title XVII of the Social Security Act or other forms of
public assistance (federal, state, local, etc.). This listing is not meant to be exclusive.

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This will further authorize you to provide updated medical records, x-rays, reports or
copies thereof to the above attorney until the conclusion of the litigation. I understand that I
have the right to revoke in writing my consent to this disclosure at any time, except to the extent
that the above-named facility or provider already has taken action in reliance upon this
authorization, or if this authorization was obtained as a condition of obtaining insurance
coverage. | further understand that the above-named facility or provider cannot condition the
provision of treatment, payment, enrollment in a health plan or eligibility for benefits on my
provision of this authorization. J further understand that information disclosed pursuant to this
authorization may be subject to redisclosure by the recipient to its clients, agents, employees,
consultants, experts, the court, and others deemed necessary by the recipient to assist in this
litigation and may no longer be protected by HIPAA,

Any copy of this document shall have the same authority as the original, and may be
substituted in its place.

Dated this day of , 2008.

[PAAINTIFF OR REPRESENTATIVE

If a representative, please describe your relationship to the plaintiff and your authority to act on
his/her behalf: .

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: FEMA TRAILER FORMALDEHYDE | MDL No. 1873
PRODUCT LIABILITY LITIGATION
AUTHORIZATION FOR RELEASE OF
RECORDS (To be signed by plaintiffs

making a claim for lost wages or earning

capacity.)

Name:

Date of Birth:
Last Four Numbers of SSN

I hereby authorize to release
all existing records and ‘information in its possession regarding the above-named person’s
employment, income and education to the law firm of Duplass, Zwain, Bourgeois, Morton,
Pfister & Weinstock, 3838 N. Causeway Boulevard, Suite 2900, Metairie, LA 70002, along
with other defense counsel im the above-captioned matter, the law firm of
and/or any of their designated agents. These
records shall be used or disclosed solely in connection with the currently pending FEMA Trailer
Formaldehyde product liability litigation involving the person named above. This authorization
shall cease to be effective as of the date on which the above-named person’s FEMA Trailer
Formaldehyde product liability litigation concludes.

] understand that this authorization includes the above-named person’s complete
employment personnel file (including attendance reports, performance reports, W-4 forms, W-2
forms, medical reports, workers’ compensation claims), and also includes all other records
relating to employment, past and present, all records related to claims for disability, and all
educational records (including those relating to courses taken, degrees obtained, and attendance
records). This listing is not meant to be exclusive.

Any copy of this document shall have the same authority as the original, and may be
substituted in its place.

Dated this day of , 2008.

(Xai save OR REPRESENTATIVE]

If a representative, please describe your relationship to the plaintiff and your authority to act on
his/her behalf: :

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: FEMA TRAILER FORMALDEHYDE | MDL No. 1873

PRODUCT LIABILITY LITIGATION
AUTHORIZATION FOR RELEASE OF
RECORDS (To be signed by plaintiffs not
making a claim for lost wages or lost
earning capacity.)

Date of Birth:
Last Four Numbers of SSN:

T hereby authorize to release all
existing records and information in its possession regarding the above-named person’s
employment and education (with the exception of W-4 and W-2 forms) to the law firm of
Duplass, Zwain, Bourgeois, Morton, Pfister & Weinstock, 3838 N, Causeway Boulevard,
Suite 2900, Metairie, LA 70002, along with other defense counsel in the above-captioned
matter, the law firm of
and/or any of their designated agents. These records shall be used or disclosed solely in
connection with the currently pending FEMA Formaldehyde product liability litigation involving
the person named above. This authorization shall cease 10 be effective as of the date on which
the above-named person’s FEMA Formaldehyde product liability litigation concludes. I
understand that this authorization includes the above-named person’s complete employment
personnel file with the exception of W-4 and W-2 forms (including attendance reports,
performance reports, medical reports, workers' compensation claims), and also includes all other
records relating to employment, past and present, al! records related to claims for disability, and
all educational records (including those relating to courses taken, degrees obtained, and
attendance records). This listing is not meant to be exclusive.

Any copy of this document shall have the same authority as the original, and may be
substituted in its place.

Dated this __ day of , 2008.

INTIFF OR REPRESENTATIVE}
If arepresentative, please describe your relationship to the plaintiff and your authority to act on
his/her behalf:

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NAME OF FACILITY:
Authorization for Use and Disclosure of Protected Health Information (PHI)
pursuant to HIPAA Privacy/Regulations, 45 CFR§§ 1604164 and Louisiana Revised Statutes,
Title 40: 1299.41, et seg., 40°:1299.96 ef seg, 13:3715 824 and C.C.P. art. 1467

Panent Le Bi

Addre: D) G.k Telephone No. di Y
coro aie wh tease 7010]

I hereby authorize the Medical Records Custodian of

To disclose medical record information and/or protect health information and to provide a complete and
certified copy of my entire record of the patient listed above to:

Name. .

Title. .

Address.

Purpose: To Protect My Legal Rights
For Treatment Date(s): All Available

Type of Access q = Abstract/pertinent q Lab q Progress Notes
q Emergency Room q _ Imaging/Radiology q__ Physician’s Orders
q Hé&p q_ Cardiac Studies q_ Entire Record
Requested: q Consult Report q Face Sheet OQ Other.
q Operative Report q_ Nursing Notes
Rehab Services Spe
@ Copies of the q Q Medication Record
records &
gq ‘Inspection of the
record -

T acknowledge, and hereby consent to such, that the released information may contain
alcoho}, drug abuse, psychiatric, HIV testing, HIV results, or AIDS information.
Initials
This authorization shall expire upon the following expiration date or event (if I fail to specify an
expiration date or event, thts authorization wil] expire in four [4] years from the date on which it
‘was signed):
You have my specific consent to meet and discuss in person or by telephone with my attorneys
only, an , any and all protected health information.

T understand that I have a right to revoke this authorization at any time. I understand that if ] revoke this authorization, I must
do so in writing and present my written revocation to the above-named health care provider. 1 understand that the reyocation
will not apply to information that has already been released in response to this authorization. | understand that the revocation
will not apply to my insurance Company when the law provides my insurer with the right to contest’a claim ynder my policy.

* J understand that the inforrmation used or disclosed pursuant to this authorization may be subject to re-disclosure by the
recipient and no longer protected.

°  Fees/charges will comply with all Jaws and regulations applicable to release information.

*  Fundesstand authorizing the use or disclosure of the information identified above is voluntary and I may refuse to sign. My
refusal to sign will not affect payment for or coverage of services, or ability to obtain treatment.

» — T understand that I may inspect or copy the infocmation used or disclosed upon request,

- You are specifically not authorized to speak or confer with anyone except me, or my attorneys,

unless you have the written consent of my attorneys or me.
rsuant to HIPAA Privacy/Regulations, 45 C 160

nd agthorize the disclosure of the protected health information as stated.

ignatore of Patient/Legal Representative Date
igned by legal representative, relationship to patient:

